                               Case 1:24-cv-04731-VMC                         Document 1-1                           VMC 440 42:1983cv
                                                                                                              Filed 10/17/24  Page 1 of 5
JS44 (Rev. 9/2024 NDGA)                                                      CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by
local rules of court. This form is required for the use of the Clerk of Cou1·t for the purpose of initiatiug the civil docket record. (SEE INSTRUCTIONS A TTACHED)


I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)
              James Mcleroy, Individually and Rosie Gray, as Administrator                       See Attachment A
              of the Estate of Shamar Mcleroy




    (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
              PLAINTIFF                      Fulton                                             DEFENDANT          Fulton
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                 (IN U.S. PLAINTIFF CASES ONLY)

                                                                                                 NOTE: IN LAND CONDEJl,INATION CASES, USE THE LOCATION OF THE TRACT OF LA."ID
                                                                                                 INVOLVED

   (C) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                      ATTORNEYS (IF KNOWN)
                                          E-MAIL ADDRESS)

               See Attachment B




II. BASIS OF JURISDICTION                                                      III. CITIZENSIDP OF PRINCIPAL PARTIES
         (PLACE AN "X" IN ONE BOX ONLY)                                               (PLACE AN "X" IN ONE BOX FOR PLAINTIFF A.ND ONE BOX FOR DEFENDANT)
                                                                                                         (FOR DIVERSITY CASES ONLY)

                                                                               PLF      DEF                                PLF       DEF

01      U.S. GOVERNMENT
        PLAINTIFF
                                     0 3 FEDERAL QUESTION
                                         (U.S. GOVERNMENT NOT A PARTY)
                                                                              01       0 1 CITIZEN OF Tms STATE           □ 4 □4            INCORPORATED OR PRINCIPAL
                                                                                                                                            PLACE Ot' BUSINESS IN TIDS STATE

02      U.S. GOVERNMENT
        DEFENDANT
                                     04    DIVERSITY
                                          (INDICATE CITIZENSIHP OF PARTIES
                                                                              D2       D2     CITIZEN OF ANOTHER STATED 5           Ds      INCORPORATED A.ND PRINCIPAL
                                                                                                                                            PLACE OF BUSINESS IN ANOTHER STA TE

                                                                              □3 □3 CITIZEN OR SUBJECT OF A □6 □6
                                           INITEMIII)
                                                                                                                                            FOREIGN NATION
                                                                                    FOREIGN COUNTRY


IV. ORIGIN (PLACEAN"X"INONEBOXONLY)
                                                      □3 REMANDED FROM
                                                                              □                     □ TRANSFERRED FROM           □ MULTIDISTRICT □           APPEAL TO DISTRICT JUDGE
   0 1 ORIGINAL   0 2 REMOVED FROM                                                4 REINSTATED OR      5 ANOTHER DISTRICT            6 LITIGATION.         7 FROM MAGISTRATE JUDGE
       PROCEEDING     STATE COURT                           APPELLATE COURT        REOPENED                (Specify District)          TRANSFER              .JUDGMENT


  □ MULTIDISTRICT
         8 LITIGATION -
            DIRECT FILE


V. CA USE OF ACTION (CITE THE U.S. CML STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE. DO NOT CITE
                                                JURISDICTIONAL STATUTES UNLESS DIVERSITY)

         This is a Section 1983 action arising from the death of Shamar Mcleroy on October 19, 2022



       0 0 Does
       YES
                  the relief requested in the complaint or petition seek to bar or mandate statewide and/or nationwide enforcement of a
           state and/or federal law, including a rule, regulation, policy, or order of the executive branch or a state and/or federal agency,
                          NO
                               whether by declaratory judgment and/or any form of injunctive relief?

        (IF COMPLEX, CHECK REASON BELOW)
      @ 1. Unusually large number of parties.                                     D 6. Problems locating or preserving evidence
      [Z] 2. Unusually large number of claims or defenses.                        [Z] 7. Pending parallel investigations or actions by government.
      D 3. Factual issues are exceptionally complex                               D 8. Multiple use of experts.
      [Z] 4. Greater than normal volume of evidence.                              D 9. Need for discovery outside United States boundaries.
      @ 5. Extended discovery period is needed.                                   D 10. Existence of highly technical issues and proof.
=CEUSEONL.Y~- ..
                                           AMOUNTS..._,._ _ _ _ __                     APl'LYlNO IF!' _ _ _ _.,....       MAO. JUDClE(lFP) _ _ _ _ _ __
lUDOE._ _ _ _ __                           MAG. ruD<IE._ _,......_,,,,__ _             NATIJREOFSUIT_ _ __                CAUSE OF ACTION_ _ _ _ _ __


f~·•·-·'-,--,, ·~··--·-·"'"      .
                                                          (k,,fitrral)
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VI. NATURE OF SUIT (PLACEAN"X"INONEBOXONLY)
CONTRACT - "O" MONTHS DISCOVERY TRACK
    D IS0RECOVERYOFOVERPAYMENT&
           ENFORCEMENT OF JUDGMENT
    D 152 RECOVERY OF DEFAULTED STUDENT
    D 153 ~~~~c~:~=AYMENTOF
                                                  CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK
                                                           440 OTHER CIVIL RIG!ffS
                                                           441 VOTING
                                                           442 EMPLOYMENT
                                                           443 HOUSING/ ACCOMMODATIONS
                                                           445 AMERICANS witl1 DISABILITIES - Employmeul
                                                                                                           ·1861
                                                                                                           SOCIAL SECURITY - "0" MONTHS DISCOVERY
                                                                                                           TRACK
                                                                                                                       HlA (1395ft)
                                                                                                                   862 BLACK LUNG (923)
                                                                                                                   863 DIWC (405(g))
                                                                                                                   863 DIWW (405(g))
            VETERAN'S BENEFITS                             446 AMERICANS with DISABILITIES - Other                 864 SSID TffLE XVI
                                                           448 EDUCATION                                           865 RSI ( 405(g))

         1 JO INSURANCE                                                                                    FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
                                                   IMMIGRATION - "0" MONTHS DISCOVERY TRACK
         l20MARINE
         130MILLERACT
         140 NEGOTIABLE INSTRUMENT
                                                           462 NA TURALIZA110N APPUCATION
                                                           465 OTHER IMMJGRATION ACTIONS
                                                                                                           -r::r
                                                                                                             0
                                                                                                                   870 TAXES (U.S. Plaintiff or Defendant)
                                                                                                                   871 !RS -11-l!RD PARTY 26 USC 7609
         ISi MEDICARE ACT
                                                  PRJSONER PETITIONS - "0" MONTHS DISCOVERY                OTIIER STATUTES - "4" MONTHS DISCOVERY

                                                  -1463
         160 STOCKHOLDERS' SUITS
         190 OTHER CONTRACT                        !RACK                                                   fRACK




                                                                                                           l
         195 CONTRACT PRODUCT LIABILITY                        HABEAS CORPUS- Alien Detainee                       375FALSECLAIMSACT
         196 FRANCHISE                                     510 MOTIONS TO VACATE SEN"l1lNCE                        376 Qui Tam 3 I USC 3729(a)
                                                           530 HABEAS CORPUS                                       400 STATE REAPPORTIONMENT
REAL PROPERTY - "4" MONTHS DISCOVERY                       535 HABEAS CORPUS DEATI-1 PENALTY                       430 BANKS AND BANKING
!RACK                                                      540 MANDAMUS & OTHER                                    450 COMMERCEl!CC RA TES/ETC.
- ~ 210 LAND CONDEMNATION                                  550 CIVlL RIGHTS - Filed Prose                          460 DEPORTATION
         220 FORECLOSURE                                   555 PRISON CONDITION(S) - Filed Prose                   470 RACKETEER INFLUENCED AND CORRUPT
         230 RENT LEASE & EJECTMENT                        560 CIVIL DETAINEE· CONDITIONS OF                            ORGANIZA11ONS




                                                                                                            I
         240 TORTS TO LAND                                     CONFINEMENT                                         480 CONSUMER CREDIT
         245 TORT PRODUCT LIABILITY                                                                                485 TELEPHONE CONSUMER PROTEC11ON ACT
         290 ALL OTHER REAL PROPERTY               PRJSONER PETITIONS - "4" MONTHS DISCOVERY                       490 CABLE/SATELLITE TV
                                                   rRAcK                                                           890 O11-IER STATUTORY AC.llONS
TORTS - PERSONAL INJURY - "4" MONTHS              ---□ 550 CIVIL RIGHTS - Filed by Counsel                         891 AGRICULTURAL ACTS
mscovERY TRACK                                      □ 555 PRISON CONDITION(S) • Filed by Counsel                   893 ENVIRONMENTAL MATTERS
      310AJRPLANE                                                                                                  895 FREEDOM OF !NFORMATION ACT 899
      315 AlRPLANE PRODUCT LIABILITY               FORFEITURE/PENAL1Y - "4" MONTHS DISCOVERY                 0     899 ADMINISTilAT!VE PROCEDURES ACT I

                                                                                                             □ 950 ~~'7'~~:!'i1'~6t~~~ts~!~
      320 ASSAULT, LIBEL & SLANDER
      330 FEDERAL EMPLOYERS' LIABILITY            --0 625 DRUG RELATED SEIZURE OF PROPERTY
      340MARINE                                                21 USC 881
      345 MARINE PRODUCT LIABILITY                    0    690OTHER
                                                                                                           OTHER STATUTES - "8" MONTHS DISCOVERY
      350 MOTOR VEHICLE
      355 MOTOR VEHICLE PRODUCT LIABILITY
                                                                                                           TRACK
      360 OTHER PERSONAL INJURY
      362 PERSONAL INJURY - MEDICAL
          MALPRACTICE
                                                           710 FAIR LABOR STANDARDS ACT
                                                           720 LABOR/MGMT. RELATIONS
                                                           740RA!LWAY LABOR ACT
                                                                                                             B     410ANTITRUST
                                                                                                                   850 SECURITIES I COMMODITIES I EXCHANGE

                                                                                                           OTHER STATUTES - ''O" MONTIIS DISCOVERY
    El
      365 PERSONAL INJURY - PRODUCT LIABILITY              7 51 FAMILY and MEDICAL LEAVE ACT
      367 PERSONAL INJURY - HEALTI-1 CARE/                 790 OTHER LABOR LlTIGATION
           PHARMACE\mCAL PRODUCT LIABILITY
    □ 368 ASBESTOS PERSONAL INJURY PRODUCT
                                                           791 EMPL. RET. INC SECURffY ACT                 --a-    896 ARBffRATlON
                                                                                                                        {Confmn /Vacate/ Order/ Modify)
           LIABILITY                               PROPERTY RIGHTS - "4" MONTHS DISCOVERY
                                                   !RACK

                                                  8
TORTS - PERSONAL PROPERTY - "4" MONTHS                     820 COPYRIGHTS
DISCOVERY TRACK                                            840 TRADEMARK                                   * PLEASE NOTE DISCOVERY
         370 OTHER FRAUD                                   880 DEFEND TilADE SECRETS ACT OF 2016 (DTSA)
         371 TRUTI-1 IN LENDING                                                                              TRACK FOR EACH CASE
         380 OTHER PERSONAL PROPERTY DAMAGE
         38S PROPERTY DAMAGE PRODUCT LIABILITY
                                                   PROPERTY RJGHTS - "8" MONTHS DISCOVERY                    TYPE. SEE LOCAL RULE 26.3
                                                   TRACK
BANKRUPTCY - "O" MONTHS DISCOVERY TRACK            --r:J 830PATENT
         422 APPEAL 28 USC 158
                                                      □ 835 PATENT-ABBREVIATED NEW DRUG
                                                               APPLICATIONS (ANDA) - a/kla
         423 WIT1lDRAWAL 28 USC I 57
                                                               Hatch~Waxman cases




VII. REQUESTED IN COMPLAINT:
   □ CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23                DEMAND$
                                                                            ------------
JURY DEMAND □ YES              IZI NO (CHECK YES ONLy IF DEMANDED IN COMPLAINT)
VIII. RELATED/REFILED CASE(S) IF ANY
         JUDGE_ _ _ _ _ _ _ _ _ _ __                                        DOCKET NO.
                                                                                               ------------
CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
    0 I. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    0 2. SA.t\1E ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    □ 3.    VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
    0 4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE R.ELA TED THERETO WIIlCH HAVE BEEN DECIDED BY THE SA,'VIE
            BANKRUPTCY JUDGE.
    □ 5. REPETITIVE CASES FILED B Y ~ LITIGANTS.
    □ 6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):




    0 7. EITIIER SAME OR ALL OF TIIE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                             ,WIUCHWAS
         DISMISSED. This case O IS  O IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




 SIGNATURE      di, ATTORNEY OF RECORD
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ATTACHMENT A


FULTON COUNTY GEORGIA, A POLITICAL
SUBDIVISION OF THE STATE OF GEORGIA,
NAPHCARE, INC.,
SHERIFF PATRICK LABAT,
BRANDON THOMPSON, CATHERINE
HARRELL, EARL DELK, FATISHA JACKSON,
JANESE ATLOW, JERRICA WHITE, JOAN
TAPPER, KA-JANA WILLIAMS, KAREENA
CALHOUN, KIMBREYA OTEY, LACRETIA
PENN, LATERRIA SEWELL, MAKISHA
ADAMS, MANDI MPEZO, MAYA MOORE,
MELISSA MATHEWS, NATASHA STROUD,
SAMANTHA SCOTT, SANDRA KWARTENG,
SHERRIE KEYES, STANLEY HIMES,
TIFFANY HAIRSTON, ALLEN VAVAL,
AQUILLA WHITFIELD, ARLETHIA PRYOR,
BERONICA PHILPOT, BISAKHA ROY,
CHAQUETTA CORBIN, CHRISTOPHER
PHILBERT, COURTNEY NEMARD,
DEMARCUS HARRIS, FELANDRIAS GASTON,
FREDERICK CALLAWAY, JR., JAMARCUS
WILLIAMS, KAWANAJENKINS, KEVIN
WALTER MARTIN, KIMBERLY JAMES,
KUBAZAHAWTHORNE, SR., LADAIN
MCDOWELL, MARCUS PRESBURY-LOMAX,
RENEKA C. BARNES, SHAQUILLA SAVOY,
APFOLLO ERON HARVEY, JR., JAMILLA
NICOLE SAADIQ, JOSEPH ROBERT LOVEJOY,
JR., ROSEMARY 0. MORRIS-HECKSTALL,
OLUBUKOLA FUNMI OLATOTO, JANNET
MAUREEN MORAIS, SAMANTHA SCOTT,
DEMARCUS MALIK ARNOLD, DAJUAN
CARLAE WALKER, BROOK BREYSHAWN
HAMMOND, ANTHONY N. OKONKWO,
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STEPHANIE ROBINSON COOPER, ANN
HOLDER, JOHN DOE NO. 1, JOHN DOE NO. 2,
JOHN DOE NO. 3, JOHN DOE NO. 4, JOHN DOE
NO. 5, AND JOHN DOE NO. 6,
     Case 1:24-cv-04731-VMC   Document 1-1   Filed 10/17/24   Page 5 of 5




ATTACHMENT B



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